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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:02CR353
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
TONY SKANNELL,                                )
                                              )
                     Defendant.               )



       This case is before the court on the defendant Tony Skannell's second request for

court-appointed attorney (#819). The defendant moves the court for a court-appointed

attorney based upon his belief that a ruling in the United States Supreme Court in

Descamps v. U. S, ---- U.S. ----, 133 S.Ct. 2276, 186 L.Ed.2d 438 (2013), in some way

affects how his prior convictions were considered at sentencing. Because the defendant

provides no specifics as to his claim and does not identify the convictions he believes to

be at issue, his motion is denied.

       IT IS ORDERED:

       1. Defendant Tony Skannell's motion to appoint counsel (#819) is denied.

       2. The Clerk's office is directed to mail a copy of this order to Mr. Skannell.

       Dated this 19th day of December 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
